     Case 1:21-cr-00072-TH Document 23 Filed 10/25/21 Page 1 of 6 PageID #: 59




                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
                                                   §
v.                                                 § CASE NO. 1:21-CR-00072-TH
                                                   §
                                                   §
RICKY GONZALES                                     §
                                                   §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the district court, this matter is referred to the Honorable Christine L. Stetson,

United States Magistrate Judge, for administration of the guilty plea under Rule 11. Magistrate

judges have the statutory authority to conduct a felony guilty plea proceeding as an “additional

duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th

Cir. 2002).

        On October 25, 2021, this case came before the undersigned magistrate judge for entry of

a guilty plea by the Defendant, Ricky Gonzales, to Count One of the Indictment. Count One

alleges that on or about September 5, 2017, in the Eastern District of Texas and elsewhere, Ricky

Gonzales, the Defendant, knowingly made a materially false, fictitious and fraudulent statement

and representation to the Federal Emergency Management Agency (“FEMA”) in an application

for benefits authorized, transported, transmitted, transferred, disbursed and paid in connection

with the Presidential Disaster Declaration for the State of Texas (FEMA-4332- DR), effective on

or about August 23, 2017, said disaster declaration having been made under Section 401 of the

Robert T. Stafford Disaster Relief and Emergency Assistance Act and the benefit referenced



                                                  1
  Case 1:21-cr-00072-TH Document 23 Filed 10/25/21 Page 2 of 6 PageID #: 60




above concerned a record, voucher, payment, money, or thing of value of the United States or

any department or agency thereof; that is, the Defendant knowingly and fraudulently applied for

FEMA assistance pertaining to damage to a residence located at 5934 Amrock Rd, Mauriceville,

Texas, and in relation to that application, claimed that said residence was his primary residence

when, in fact, it was not his primary residence and therefore did not qualify for FEMA relief, all

in violation of 18 U.S.C. § 1040 (Fraud in Connection with Major Disaster or Emergency

Benefits).

       The Defendant entered a plea of guilty to Count One of the Indictment into the record at

the hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule

of Criminal Procedure 11, the undersigned finds:

       a.      That the Defendant, after consultation with his attorney, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this case by a United States

magistrate judge in the Eastern District of Texas, subject to a final approval and imposition of

sentence by the district court.

       b.      That the Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal. The

Defendant verified that he understood the terms of the plea agreement, and he acknowledged that

it was his signature on the plea agreement.         To the extent the plea agreement contains

recommendations and requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the

Defendant that he has no right to withdraw the plea if the court does not follow the particular

recommendations or requests. To the extent that any or all of the terms of the plea agreement are

pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant that he will have the




                                                2
   Case 1:21-cr-00072-TH Document 23 Filed 10/25/21 Page 3 of 6 PageID #: 61




opportunity to withdraw his plea of guilty should the court not follow those particular terms of

the plea agreement.1

         c.       That the Defendant is fully competent and capable of entering an informed plea,

that the Defendant is aware of the nature of the charges and the consequences of the plea, and

that the plea of guilty is made freely, knowingly, and voluntarily.                        Upon addressing the

Defendant personally in open court, the undersigned determines that the Defendant’s plea is

knowing and voluntary and did not result from force, threats or promises (other than the

promises set forth in the plea agreement). See FED. R. CRIM. P. 11(b)(2).

         d.       That the Defendant’s knowing and voluntary plea is supported by an independent

factual basis establishing each of the essential elements of the offense and the Defendant realizes

that his conduct falls within the definition of the crime charged under 18 U.S.C. § 1040 (Fraud in

Connection with Major Disaster or Emergency Benefits).

                                       STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual

basis. See Factual Basis and Stipulation. In support, the Government would prove that the


1. “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the
extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included
in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in
camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).


                                                          3
  Case 1:21-cr-00072-TH Document 23 Filed 10/25/21 Page 4 of 6 PageID #: 62




Defendant is the same person charged in the Indictment, and that the events described in the

Indictment occurred in the Eastern District of Texas. The Government would also have proven,

beyond a reasonable doubt, each and every essential element of the offense as alleged in Count

One of the Indictment through the testimony of witnesses, including expert witnesses, and

admissible exhibits. In support of the Defendant’s plea, the undersigned incorporates the proffer

of evidence described in detail in the factual basis and stipulation filed in support of the plea

agreement, and the Defendant’s admissions made in open court in response to the undersigned’s

further inquiry into the factual basis and stipulation.

       The Defendant agreed with, and stipulated to, the evidence presented in the factual basis.

Counsel for the Defendant and the Government attested to the Defendant’s competency and

capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

by the Government and personally testified that he was entering the guilty plea knowingly, freely

and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States magistrate

judge that the district court accept the guilty plea of the Defendant, which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the Indictment. Accordingly, it is further

recommended that the district court finally adjudge the Defendant, Ricky Gonzales, guilty of the

charged offense under 18 U.S.C. § 1040 (Fraud in Connection with Major Disaster or

Emergency Benefits).




                                                  4
  Case 1:21-cr-00072-TH Document 23 Filed 10/25/21 Page 5 of 6 PageID #: 63




       The district court should defer its decision to accept or reject the plea agreement until

there has been an opportunity to review the presentence report. If the plea agreement is rejected

and the Defendant still persists in his guilty plea, the disposition of the case may be less

favorable to the Defendant than that contemplated by the plea agreement. The Defendant is

ordered to report to the United States probation department for the preparation of a presentence

report. The Defendant has the right to allocute before the district court before imposition of

sentence.

                                          OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(C), each party to this action has the right to file

objections to this Report and Recommendation. Objections to this Report must (1) be in writing,

(2) specifically identify those findings or recommendations to which the party objects, (3) be

served and filed within fourteen (14) days after being served with a copy of this Report, and (4)

be no more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(C); FED. R. CRIM. P.

59(b)(2); E.D. TEX. CRIM. R. CR-59(c). A party who objects to this Report is entitled to a de

novo determination by the United States district judge of those proposed findings and

recommendations to which a specific objection is timely made. 28 U.S.C. § 636(b)(1)(C); FED.

R. CRIM. P. 59(b)(3).

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States district

judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–

77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such




                                                 5
  Case 1:21-cr-00072-TH Document 23 Filed 10/25/21 Page 6 of 6 PageID #: 64




findings of fact and conclusions of law accepted by the United States district judge, see Douglass

v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).


              SIGNED this the 25th day of October, 2021.




                                          ___________________________________
                                          Christine L Stetson
                                          UNITED STATES MAGISTRATE JUDGE




                                                6
